
PER CURIAM
Plaintiffs James W. Schottel, Jr. and Schottel &amp; Associates, P.C. (collectively, "Appellants") appeal from the trial court's dismissal of their one-count petition against Lifelock, Inc. and AIG Direct Insurance Services, Inc. (collectively, "Respondents"), which alleged violations of the electronic mail practices act, Section 407.1123.
We have reviewed the briefs of the parties and the record on appeal and find no error of law. No jurisprudential purpose would be served by a written opinion. However, the parties have been furnished with a memorandum for their information only, setting forth the facts and reasons for this order.
The judgment is affirmed pursuant to Rule 84.16(b).
